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                             UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF PENNSYLVANIA

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  JONATHAN IMHOFF and
  GLEN AURELIUS,
  on behalf of themselves
  and all others similarly situated,
                                                             Civil Action No. 2:15-679
                   Plaintiffs,
                                                        : Judge Arthur J. Schwab
                            v.

  WEATHERFORD INTERNATIONAL,
  LLC and WEATHERFORD U.S., L.P.;

                   Defendants.

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                           ORDER FOR FINAL APPROVAL OF
                     CLASS AND COLLECTIVE ACTION SETTLEMENT


        AND NOW, th is           I   Sit""    day of    rfle.p.,,a-C , 2016,        upon consideration of

Plaintiffs' Unopposed Motion for Final Approval of Class and Collective Action Settlement and

Approval of Attorneys' Fees and Costs, and as well as all documents submitted in support of that

motion, the Court GRANTS the motion and ORDERS as follows:


        I.      The Class Action Settlement Agreement and Release is finally approved as fair,

reasonable, and adequate under Rule 23(e)(2) of the Federal Rules of Civil Procedure, and as a

fair and reasonable resolution of a bona fide dispute under the Fair Labor Standards Act, 29

U.S.C. § 201 et seq.


       2.       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court certifies a

class composed of all persons who worked for Defendant Weatherford U.S., L.P. as a service

supervisor out of Defendant Weatherford U.S., L.P. 's district in Buckhannon, West Virginia, or

Muncy, Pennsylvania, at any time between May 26, 2012, and December 31, 2015.
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       3.      The Court approves the Service Awards for the Class Representatives in the total

amount of$17,500, to be paid in accordance with Paragraph 35(a) of the Settlement Agreement.


       4.      The Court approves the Class Counsel Award in the amount of $200,000, to be

apportioned as follows: $197,039.04 for payment of attorneys' fees, which the Court deems to be

reasonable, and $2,960.96 for reimbursement oflitigation costs.


       5.      The parties are directed to file a joint stipulation to the dismissal of this action

with prejudice once all payments contemplated by the Settlement Agreement have been made.

Until that joint stipulation is filed, the Court retains jurisdiction over this action for the purpose

of enforcing the Settlement Agreement.




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